 Case 1:08-cv-01348-AJT-TRJ Document 3 Filed 04/30/09 Page 1 of 2 PageID# 59



                     UNITED STATES DISTRICT COURT FOR THE
                       EASTERN DISTRICT OF NEW VIRGINIA

 MIRAGE INNOVATIONS, LTD.,

                        Plaintiff,
                                                 Civil Action No. 08-Civ-1348 (J. Trenga)
       v.

 NOKIA CORPORATION,

                        Defendant.


                                     NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1), Plaintiff Mirage Innovations, Ltd. hereby gives

notice of the dismissal of this action without prejudice of Plaintiff’s Complaint and claims for

relief against Defendant Nokia Corporation.



Dated: April 30, 2009


                                                 /s/ Erik C. Kane ___________
                                                 Eric C. Kane (VSB #68294)
                                                 Kenyon & Kenyon LLP
                                                 1500 K Street, N.W., Suite 700
                                                 Washington, DC 20005-1257
                                                 202.220.4200

                                                 John Flock
                                                 Jeffrey S. Ginsberg
                                                 Kenyon & Kenyon LLP
                                                 One Broadway
                                                 New York, NY 10004-1007
                                                 212.425.7200

                                                 Attorneys for Mirage Innovations, Ltd.
 Case 1:08-cv-01348-AJT-TRJ Document 3 Filed 04/30/09 Page 2 of 2 PageID# 60



                              CERTIFICATE OF SERVICE

       I hereby certify that on the 30th Day of April, 2009, I will electronically file the
foregoing with the Clerk of the Court using the CM/ECF system, and that I will mail the
document by U.S. Mail to the following non-filing user:

Alexas D. Skucas, Esq.
King & Spaulding
1185 Avenue of the Americas
New York, New York 10036-4003
Telephone: (212) 827-4049
Facsimile: (212) 556-2222
askucas@kslaw.com
Counsel for Nokia Corporation


                                              /s/ Erik C. Kane_____________
                                              Erik C. Kane, Esq.
                                              VA Bar # 68294
                                              Counsel for Mirage Innovations, Ltd
                                              Kenyon & Kenyon LLP
                                              1500 K Street, NW
                                              Washington, DC 20005-1257
                                              Telephone: (202) 220-4200
                                              Facsimile: (202) 220-4201
                                              ekane@kenyon.com




                                                -2-
